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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISON

 Wendy Iacobucci,                                  )             2:18-CV-00152-DCN-BM
                                                   )
                      Plaintiff,                   )
                                                   )     PLAINTIFFF’S MOTION TO COMPEL
                vs.                                )      AND SET REASONABLE FEE FOR
                                                   )       DEPOSITION OF DEFENDANTS’
 Town of Bonneau, Bonneau Police                   )            EXPERT WITNESS
 Department, and Franco Fuda                       )
                                                   )
                      Defendants.                  )

       The Plaintiff hereby moves to compel the deposition of Defendants’ expert witness, Major

Brian Batterton, and to set a reasonable fee for his deposition pursuant the Federal Rules of Civil

Procedure and cases interpreting the same. The Plaintiff also submits the attached memorandum

in support of this motion. The Plaintiff respectfully requests that the Court issue an Order requiring

Maj. Batterton to proceed with his deposition as scheduled without insisting on prepayment of a

$2,500.00 flat fee; requiring Maj. Batterton to submit an invoice to Plaintiff’s counsel following

the conclusion of his deposition based upon the amount of time actually spent being deposed at a

reasonable rate of $250.00 per hour; and allowing the Plaintiff to proceed with depositions and

discovery in this case without regard to the status of the pending Motion to Amend the Complaint.




                                     (signatures on following page)




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                             CLAWSON FARGNOLI, LLC



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Charleston, South Carolina
August 27, 2018

                             WHITE, DAVIS, AND WHITE LAW FIRM



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August 27, 2018




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